                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WISCONSIN
                               MILWAUKEE DIVISION



H-D U.S.A., LLC and HARLEY-                          Case No.: 17-CV-711
DAVIDSON MOTOR COMPANY
GROUP, LLC,

                   Plaintiffs,

       vs.                                           COMPLAINT FOR TRADEMARK
                                                     COUNTERFEITING, TRADEMARK
SUNFROG, LLC d/b/a SUNFROG                           INFRINGEMENT, TRADEMARK
SHIRTS and JOHN DOES,                                DILUTION, COPYRIGHT
                                                     INFRINGEMENT, AND UNFAIR
                   Defendants.                       COMPETITION
                                                     JURY TRIAL REQUESTED


                                           COMPLAINT


       Plaintiffs H-D U.S.A., LLC and Harley-Davidson Motor Company Group, LLC

(Plaintiffs and their predecessors in interest, together with their parents, subsidiaries, and

affiliated companies are collectively referred to as “H-D”), by their undersigned attorneys, bring

this action against SunFrog, LLC d/b/a SunFrog Shirts (“SunFrog”) and John Does (collectively

“Defendants”) and allege as follows, upon actual knowledge with respect to themselves and their

own acts, and upon information and belief as to all other matters:

                                   NATURE OF THE ACTION

       1.      This is a civil action for trademark counterfeiting, trademark infringement,

trademark dilution, copyright infringement, and unfair competition arising under the Lanham

Act, 15 U.S.C. § 1051, et seq., the Copyright Action, 17 U.S.C. § 101, et seq., Wisconsin state

law, and common law. H-D seeks equitable and monetary relief for Defendants’ actions that




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constitute willful violations of H-D’s trademark rights in its HARLEY-DAVIDSON, HARLEY,

H-D, HD, FAT BOY, and SPORTSTER word marks; and its Bar & Shield Logo, Willie G. Skull

Logo, and Number 1 Logo trademarks shown below (collectively, “the H-D Marks”); and H-D’s

copyright rights in the Willie G. Skull Logo (collectively with the H-D Marks, “H-D’s

Intellectual Property”).

    The “Bar & Shield Logo”           The “Willie G. Skull Logo”        The “Number 1 Logo”




 

       2.       Defendants are in the business of marketing, promoting, advertising, and selling

apparel and other products on SunFrog’s website accessible via the domain names

SUNFROG.COM and SUNFROGSHIRTS.COM (“SunFrog’s Website”).

       3.      Defendants market, promote, advertise, and sell products, primarily apparel, that

bear H-D’s Intellectual Property (the “Infringing Products”) on SunFrog’s Website. H-D has

placed Defendants on express notice of H-D’s trademark rights by submitting numerous

objections, starting in October 2016 and continuing to the present, encompassing well over 800

items offered and sold by Defendants that are the subject of this Complaint. Despite such

repeated objections and despite the fame of the H-D Marks, Defendants nonetheless continued,

and continue to this day, to market, promote, advertise, and sell Infringing Products bearing

H-D’s Intellectual Property on SunFrog’s Website.




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       4.      Specifically, despite H-D’s countless objections: (a) SunFrog continues to

advertise and sell numerous Infringing Products bearing the identical H-D Marks cited in H-D’s

prior objections, (b) SunFrog continues to allow the same anonymous sellers that are repeat

infringers of H-D’s Intellectual Property and identified in H-D’s prior objections to offer

additional Infringing Products on SunFrog’s Website, (c) SunFrog expanded the types of

Infringing Products it sells from shirts bearing the H-D Marks to also include leggings and mugs,

and (d) SunFrog even continues to advertise and sell numerous Infringing Products bearing

designs identical to designs of Infringing Products that were the subject of H-D’s prior

objections. In March and April 2017 alone – at the same time that H-D was repeatedly

submitting objections to SunFrog’s violations of the H-D Marks and following many months of

similar objections by H-D – the Infringing Products sold on SunFrog’s Website have featured

more than 100 different designs comprised of or containing the H-D Marks on thousands of

products. Representative examples of the Infringing Products offered and sold by Defendants

are shown below:




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       5.      Defendants’ unlawful activities described below: infringe the H-D Marks; are

likely to dilute and tarnish the famous HARLEY-DAVIDSON, HARLEY, H-D, HD, and Bar &

Shield Logo marks; constitute trademark counterfeiting of the H-D Marks that cover apparel,

posters, and/or mugs; infringe H-D’s copyright in the Willie G. Skull Logo; and/or constitute

unfair competition; and have caused and will continue to cause, unless enjoined, irreparable

harm to H-D, H-D’s Intellectual Property, and the consuming public.

       6.      H-D seeks injunctive and other relief from Defendants’ unauthorized use of

H-D’s Intellectual Property, including without limitation an injunction enjoining Defendants

from engaging in their unlawful activities, statutory damages for counterfeiting, statutory

damages for copyright infringement, Defendants’ profits, H-D’s actual damages, and H-D’s

attorneys’ fees and costs.

                                         THE PARTIES

       7.      Plaintiff H-D U.S.A., LLC is a Wisconsin limited liability company having a

principal place of business at 3700 West Juneau Avenue, Milwaukee, Wisconsin 53208, and is

the owner of the trademarks and copyright asserted in this action, i.e. H-D’s Intellectual

Property.

       8.      Plaintiff Harley-Davidson Motor Company Group, LLC d/b/a Harley-Davidson

Motor Company is a Wisconsin limited liability company having its principal place of business




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at 3700 W. Juneau Avenue, Milwaukee, Wisconsin 53208, and is a licensee of H-D’s Intellectual

Property.

       9.      Defendant SunFrog, LLC d/b/a SunFrog Shirts is a limited liability company

organized under the laws of the State of Michigan, with its principal place of business at 1782

O’Rourke Blvd., Gaylord, Michigan 49735. SunFrog is not an authorized H-D dealer and is not

an authorized licensee of any of H-D’s Intellectual Property.

       10.     H-D is not aware of the true name and capacity of the other persons acting in

concert with and/or at the request or direction of SunFrog who have participated in the creation,

promotion, advertisement, sale, manufacturing, printing, and/or distribution of the Infringing

Products described in this Complaint, including but not limited to SunFrog’s account holders that

contracted with SunFrog to create, offer, and sell the Infringing Products. Thus, H-D brings this

action against these other defendants identified as the “John Does.”

                                 JURISDICTION AND VENUE

       11.     This action arises under the federal Trademark Act, 15 U.S.C. §§ 1051, et seq.,

the Copyright Action, 17 U.S.C. § 101, et seq.,Wisconsin state law, and common law.

       12.     This Court has jurisdiction over the subject matter of this action pursuant to 15

U.S.C. § 1121, 17 U.S.C. § 501, and 28 U.S.C. §§ 1331 and 1338(a) and (b). Because the parties

are citizens of different states and the matter in controversy exceeds the sum or value of seventy-

five thousand dollars ($75,000.00), exclusive of interest and costs, this Court also has

jurisdiction under 28 U.S.C. § 1332. Jurisdiction over the state law claims is also appropriate

under 28 U.S.C. § 1367(a) and principles of pendent jurisdiction because those claims are

substantially related to the federal claims.




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        13.     This Court has personal jurisdiction over Defendants and venue is proper pursuant

to 28 U.S.C. §§ 1391(b) and (c). Venue is also proper because Defendants are subject to

personal jurisdiction in this District.

                            H-D, ITS PRODUCTS AND SERVICES,
                                   AND ITS TRADEMARKS

        14.     H-D is a world-famous manufacturer of motorcycles and a wide variety of other

products and services, including apparel products. H-D is the largest U.S. manufacturer of

motorcycles.

        15.     Founded in 1903, H-D has manufactured, promoted, and sold motorcycles and

related products for over 110 years.

        16.     H-D owns the exclusive right to use the H-D Marks and variations thereof for

motorcycles and related products and services, including clothing and accessories.

        17.     Since at least as early as 1903, H-D has used and promoted the HARLEY-

DAVIDSON mark for motorcycles, motorcycle parts, and motorcycle accessories.

        18.     Since at least as early as 1915, H-D has used the HARLEY-DAVIDSON mark in

connection with apparel, and has used this mark for mugs and posters for many years.

        19.     Since at least as early as 1980, H-D has also used the HARLEY trademark in

connection with motorcycles, motorcycle parts and accessories, motorcycle clothing, and various

other products and services. H-D has used the HARLEY mark for many years for apparel, mugs,

posters, and other merchandise.

        20.     Since at least as early as 1912, H-D has used and promoted the H-D mark and/or

its variation without the hyphen “HD” in connection with motorcycles. In addition, H-D has

used the H-D and HD marks for decades for motorcycle parts and accessories, motorcycle

clothing, and various other products and services under the those marks. The marks HARLEY,



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H-D, and HD have for many years been used interchangeably by the public as shorthands for

HARLEY-DAVIDSON.

       21.     Since at least as early as 1910, H-D has used the distinctive Bar & Shield Logo

mark and variations thereof in the U.S., representative examples of which are shown below

(collectively referred to as the “Bar & Shield Logo”), in connection with motorcycles and related

products and services. H-D’s rights in the Bar & Shield Logo extend to the mark’s design (i.e.,

the bar and shield design), regardless of the wording contained within that design.




       22.     Since at least 1915, H-D has used the Bar & Shield Logo in connection with

apparel, and has used this mark for mugs and posters for many years.

       23.     Since at least the early 1970s, H-D has used the #1 Logo and variations thereof,

examples of which are shown below, in connection with motorcycles, apparel, mugs, posters,

and/or related products (collectively, the “Number 1 Logo”).




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       24.     Since at least 2000, H-D has used its Willie G. Skull Logo, examples of which are

shown below, in connection with a wide variety of goods including apparel, mugs, posters,

motorcycles, motorcycle parts, and motorcycle accessories. H-D has also extensively used the

Willie G. Skull Logo in connection with a wide variety of other goods, including jewelry,

watches, footwear, wallets, clocks, and pins.




       25.     The Willie G. Skull Logo was created by Willie G. Davidson (“Willie G.”), the

son of former Harley-Davidson president William H. Davidson and the grandson of Harley-

Davidson co-founder William A. Davidson, and Ray Drea. Willie G. has held numerous

positions within Harley-Davidson, including former Senior Vice President & Chief Styling

Officer of Harley-Davidson, and the head of Harley-Davidson’s Willie G. Davidson Product

Development Center. During his career, Willie G. was responsible for approving H-D

motorcycle designs, and he also personally designed the Willie G. Skull Logo. Willie G., an

icon in the motorcycle industry, was inducted into the American Motorcyclist Association

Motorcycle Hall of Fame in 1999. In 2014, he was inducted into the Motorcycle Hall of Fame as

a “Motorcycle Hall of Fame Legend.”

       26.     Since at least 1989, H-D has used and promoted the FAT BOY mark in

connection with motorcycles. In addition, H-D has used the FAT BOY mark for many years for

motorcycle parts and accessories, clothing, and various other products.




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       27.     Since at least 1956, H-D has used and promoted the SPORTSTER mark in

connection with motorcycles. In addition, H-D has used the SPORTSTER mark for many years

for motorcycle parts and accessories, clothing, and various other products.

       28.     Over the years, H-D has expanded its business to include a wide range of other

products and services, including but not limited to accessories, patches, signs, collectibles, and

more. H-D has extensively promoted the H-D Marks across H-D’s extensive line of products

and services over the years.

       29.     Apparel is a significant part of H-D’s business and has been so for many years.

For decades, H-D has offered and sold, itself and through its dealers and licensees, riding gear

and apparel bearing the H-D Marks, including t-shirts, shirts, sweatshirts, sweaters, pants, vests,

jackets, and hats. During this same time, H-D has offered and sold through H-D’s licensees a

wide range of merchandise bearing the H-D Marks, including many licensees for various apparel

products, as well as licensees for mugs and posters. Representative examples of H-D’s licensed

apparel products and mugs are shown below.




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       30.     Numerous authorized licensees of H-D in the U.S. sell and have sold for decades

a wide range of merchandise bearing the H-D Marks, including many licensees specifically for

various apparel products, as well as licensees for mugs and posters.

       31.     The H-D Marks are premium brands and H-D has a reputation for providing a

wide variety of high-quality merchandise under those brands itself and through its dealers and

licensees. Given the incredible commercial success of H-D’s motorcycle business over the years

and its status for many years as a famous, iconic, and cult brand, there has long been a strong

demand from motorcycle enthusiasts as well as the general public for other products bearing the

H-D Marks, so they can show their affinity for H-D and its products and brands. To satisfy this

demand and to further build awareness of the H-D Marks, H-D has for decades engaged in an

extensive program licensing the H-D Marks (and other trademarks) to various licensees for use

on a wide range of products including apparel, mugs, and posters just to name a few. Consistent

with its image as a premium brand, H-D positions its licensed merchandise as high-quality

merchandise at a premium price point. H-D’s licensed products and/or associated labeling and

packaging bear one or more of the H-D Marks.

       32.     H-D has standards and guidelines to which all authorized licensed products

branded with the H-D Marks, including apparel, must adhere. These standards and guidelines

allow H-D to control the quality and appearance, among other things, of licensed products

offered in connection with the H-D Marks. Moreover, all licensed merchandise, including


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apparel, is subject to H-D’s prior written approval before it is manufactured, promoted, and sold

to the public by H-D’s licensees. To ensure and maintain the premium and high-quality

reputation of licensed merchandise sold under the H-D Marks, H-D requires its licensees,

including its licensees for apparel, mugs, and posters, to comply with its extensive and stringent

quality-control standards, including: (1) licensees must first submit product concepts and artwork

for H-D’s prior written approval, (2) once the concept and artwork is approved, licensees must

submit a pre-production product sample for H-D’s prior written approval, and (3) once the pre-

production product sample is approved, licensees must submit for H-D’s prior written approval a

production sample of the actual product that will be sold to the public. Licensees cannot

promote or advertise any licensed products without completing all of these steps. As part of this

quality-control review process, H-D carefully reviews the licensed products in numerous

respects, including the materials used in making the licensed products, the quality of the

craftsmanship and construction of the products, the design, style, and appearance of the products,

and the overall quality of the products.

       33.     H-D has achieved significant commercial success in the motorcycle business,

which includes the sales and servicing of motorcycles and the sales of motorcycle parts,

accessories, and riding gear. H-D and its authorized dealers have sold many billions of dollars of

such products and services over the years. H-D’s licensed products business has also been

wildly successful with H-D’s royalty revenues from licensing exceeding $400 million during

2005-2016 alone, which translates into billions of dollars of sales at retail. The majority of

H-D’s licensing royalty revenues are from its apparel licensees. H-D currently has

approximately ten apparel licensees and has had a similar number of apparel licensees or more

for many years.




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        34.      The H-D Marks have been extensively promoted nationwide across H-D’s many

product lines. H-D markets and sells motorcycles, motorcycle parts and accessories, and riding

gear including apparel under the H-D Marks through a network of more than 690 authorized

dealers located throughout the country, and through numerous other authorized Harley-Davidson

retail outlets, including high-profile and highly-trafficked outlets (e.g., stores located at popular

airports).

        35.      H-D’s apparel products are also sold online through its HARLEY-

DAVIDSON.COM website, authorized dealers’ websites, and websites of H-D’s authorized

licensees.

        36.      H-D and its authorized dealers and licensees have sold many billions of dollars of

products and services under the HARLEY-DAVIDSON, HARLEY, H-D, HD, and Bar & Shield

Logo marks over the years, and have expended many millions of dollars advertising and

promoting those marks through virtually every media. For example, H-D has promoted its

products and services under such marks through dealer promotions, catalogs, customer events,

industry events, motorcycle-enthusiast events, direct mailings, national television, print, and

radio advertisements, and the Internet. For many years, H-D and its dealers have sponsored

sports teams and major sporting events, including prominent use of the H-D Marks on

advertisements or promotions at such events.  

        37.      H-D, its products and services, and its H-D Marks have all received significant

unsolicited media coverage for decades, including, for example, in national publications such as

Business Week, The Chicago Tribune, The New York Times, The Wall Street Journal, The

Washington Post, and USA Today, as well as in books, numerous national television programs




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and popular online publications and websites, such as MSNBC, CNN Money, CNN.COM, and

Yahoo.

         38.   As a result of H-D’s significant promotional efforts, commercial success, and

popularity for decades, the HARLEY-DAVIDSON brand has been ranked annually for the past

decade among the top 100 most valuable brands in the world by Interbrand, a leading

independent branding firm. In 2015, Interbrand estimated the value of the HARLEY-

DAVIDSON brand at US $5.46 billion. In 2016, Tenet Partners ranked the HARLEY-

DAVIDSON brand as the 11th Most Powerful Brand in its Top 100 Most Powerful Brands report

of 2016.

         39.   Based on H-D’s longstanding and extensive use of the HARLEY-DAVIDSON,

HARLEY, H-D, HD, and Bar & Shield Logo marks, and the widespread advertising, publicity,

promotion, and substantial sales of products and services under those marks, these marks have

been well known and famous to both the general public and the motorcycling public for many

years.

         40.   In H-D Michigan LLC v. Broehm, Opposition No. 91177156, the Trademark Trial

and Appeal Board of the United States Patent and Trademark Office (“Board”) expressly held

that the HARLEY-DAVIDSON, HARLEY, and Bar & Shield Logo marks were famous for

motorcycles, apparel, and accessories. 2009 WL 1227921, at *5 (TTAB 2009). Further, the

Board held that the Bar & Shield Logo was a famous mark for such products regardless of the

wording and other matter displayed within the Bar & Shield Logo. As a result, the Board held

that the third-party mark shown below was confusingly similar to the Bar & Shield Logo despite

the differences in wording within the logo and despite the changes to the shape of the shield

portion of the mark.




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       41.     Various federal courts, including this Court, have found that the HARLEY-

DAVIDSON mark and/or the Bar & Shield Logo are famous. See Ronda Ag v. H-D, Inc., 108

F.3d 1393, at *1 (Fed. Cir. 1997) (finding HARLEY-DAVIDSON famous) (non-precedential);

H-D Michigan, LLC v. Hellenic Duty Free Shops S.A., No. 2:11-CV-00742, 2011 WL 3903278,

at *1 (E.D. Wis. Sept. 6, 2011) (finding HARLEY-DAVIDSON and Bar & Shield Logo

famous); Packaging Supplies, Inc. v. H-D, Inc., No. 08-CV-400, 2011 WL 1811446, at *2 (N.D.

Ill. May 12, 2011) (finding HARLEY-DAVIDSON and Bar & Shield Logo famous); H-D

Michigan, LLC v. Hannon, No. 09-378-P-S, 2009 WL 3762445, at *1 (D. Me. Oct. 28, 2009)

(finding Bar & Shield Logo famous).

                         H-D’S TRADEMARK REGISTRATIONS

       42.     In addition to its longstanding and strong common-law rights in the HARLEY-

DAVIDSON mark, H-D owns, among others, the following federal registrations for the

HARLEY-DAVIDSON mark:

             Mark            Reg. No.                      Goods and Services
                             Reg. Date
  HARLEY-DAVIDSON            3393840    House mark for a full line of clothing, footwear and
                             03-11-2008 headwear

  HARLEY-DAVIDSON            0507163    Motorcycle shirts, sweaters, breeches, neckties,
                             03-01-1949 coveralls, rain coats and hats, jackets, helmets, caps
                                        and boots
  HARLEY-DAVIDSON            1234404    Sunglasses and protective helmets for motorcyclists;
                             04-12-1983 Clothing-namely, jackets, pants, shirts, T-shirts,
                                        vests, jeans, riding suits, bandanas, rain suits, shorts,


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             Mark            Reg. No.                     Goods and Services
                             Reg. Date
                                          nightgowns, halters, underwear, tank tops,
                                          sweatshirts, night shirts, socks, gloves, hats, caps and
                                          boots
  HARLEY-DAVIDSON           1450348    Bumper stickers, removable tattoos, pressure
                            08-04-1987 sensitive decals, mugs, drinking glasses, coasters,
                                       decanters, cups, plastic mugs, towels, sweat pants,
                                       sweaters, suspenders, scarves, bandanas, leather
                                       clothing, namely, jackets, vests, gloves, jeans, chaps,
                                       tops, boots, shorts, caps, belts and parts of footwear,
                                       namely boot tips; (Among other good and services in
                                       Classes 6, 8, 14, 16, 18, 20, 24, 28, and 34.)
  HARLEY-DAVIDSON           0526750    Motorcycles and structural parts thereof, accessories-
                            06-27-1950 namely, intermediate stands, seats, foot rests and
                                       extensions, windshields, fender tips, exhaust stacks,
                                       grips, name plates, saddle covers, luggage carriers,
                                       license frames, foot pedal pads, tandem seats, foot
                                       rests, rear view mirrors
  HARLEY-DAVIDSON           1311457    Retail store services in the field of motorcycles,
                            12-25-1984 repair and servicing of motorcycles
  HARLEY-DAVIDSON           1219955    Parts and service manuals for motorcycles, parts
                            12-14-1982 catalogs for motorcycles, newsletters and magazines
                                       dealing with motorcycles, calendars, posters, and
                                       decals

       43.     In addition to its longstanding and strong common-law rights in the HARLEY

mark, H-D owns, among others, the following federal registrations:

             Mark           Reg. No.                      Goods and Services
                            Reg. Date
  HARLEY                    1406876    Clothing; namely--tee shirts for men, women and
                            08-26-1986 children; knit tops for women and girls; and
                                       children’s shirts
  HARLEY                    1683455    Shirts, tank tops, boots and sweatshirts
                            04-14-1992

  HARLEY                    1708362    Embroidered patches for clothing
                            08-18-1992



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              Mark            Reg. No.                      Goods and Services
                              Reg. Date
  HARLEY                     1352679    Motorcycles
                             08-06-1985

        44.     In addition to its longstanding and strong common-law rights in the H-D and HD

marks, H-D owns, among others, the following federal registrations:

              Mark            Reg. No.                       Goods and Services
                              Reg. Date
  HD                         2315877    Shirts, jackets, vests, t-shirts, nightgowns,
                             02-08-2000 sweatshirts, nightshirts, gloves, hats, leather gloves
  HD                         1534449    Decorative cloth patches and belt buckles of non-
                             04-11-1989 precious metal
  H-D                        1775905    Shirts, jackets, vests, lingerie, belts, t-shirts, sweaters,
                             06-08-1993 pants, rain coats, nightgowns, halters, tank tops,
                                        sweatshirts, nightshirts, gloves, hats, chaps,
                                        wristbands, footwear, shorts, scarves, jeans, leather
                                        jackets, leather vests, leather chaps, leather belts,
                                        leather boots, leather gloves
  H-D                        1596518    Jackets, vests, gloves, t-shirts, and caps
                             05-15-1990
  H-D                        1239313    Motorcycles
                             05-24-1983
  H-D                        5032178    Online retail store services featuring clothing,
                             08-30-2016 clothing accessories, footwear, motorcycle safety
                                        equipment, headwear, eyewear, motorcycle parts and
                                        accessories, and household items

        45.     In addition to its longstanding and strong common-law rights in its Bar & Shield

Logo, H-D owns, among others, the following federal registrations:

         Mark             Reg. No.                          Goods and Services
                          Reg. Date
                        3393839           House mark for a full line of clothing, footwear and
                        03-11-2008        headwear




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Mark         Reg. No.                      Goods and Services
             Reg. Date
           1511060       Clothing, namely, boots, sweat shirts, jeans, hats, caps,
           11-01-1988    scarves, motorcycle riding suits, neck ties, shirts, t-
                         shirts, jackets, vest, ladies tops, bandanas



           1571032       Clothing, namely, jeans, t-shirts and jackets
           12-12-1989




           3185946       Jackets, baseball hats, caps, shirts and T-shirts
           12-19-2006



           1205380       Motorcycles;
           08-17-1982
                         Clothing-namely, T-shirts




           3058720       Retail store services and distributorships in the fields of
           02-14-2006    motorcycles, motorcycle parts and accessories, footwear,
                         clothing, jewelry, and leather goods; rendering technical
                         assistance in the establishment, operation, and business
                         promotion of retail stores; retail store services in the
                         fields of motorcycles, motorcycle parts and accessories,
                         footwear, clothing, jewelry, and leather goods therefor
                         via a global computer network; dealerships in the fields
                         of motorcycles, motorcycle parts and accessories,
                         footwear, clothing, jewelry, and leather goods
           1660539       Motorcycles and motorcycle parts; namely, air cleaners,
           10-15-1991    drive belts, belt guards, brakes, chains, clutches,
                         crankcases, engine cylinders, fenders and fender
                         supports, footboards, forks, fuel tanks, leg guards,
                         handlebars, cylinder heads, mirrors, oil filters, oil
                         pumps, seats, shock absorbers, backrests, wheels, and
                         windshields;

                         Books about motorcycles, calendars, decals, pens, photo
                         albums, posters, and removable tattoos;




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        Mark             Reg. No.                         Goods and Services
                         Reg. Date
                                        Drinking glasses, mugs, and can holders in the nature of
                                        an insulated rubber cylinder;

                                        Belts, chaps, denim pants, gloves, hats, caps, jackets,
                                        neckties, night shirts, pants, rain suits, shirts, socks,
                                        suspenders, sweaters, sweatshirts, tank tops, athletic
                                        shoes, shoes, boots, t-shirts, underwear, vests, and
                                        wristbands;

                                        (Among other goods and services in Classes 8, 9, 11, 14,
                                        18, 20, 24, 26, 27, 28, and 34.)
                       1263936          Mugs and Insulated Drinking Steins;
                       01-17-1984
                                        Clothing-Namely, T-Shirts, Jackets, Blue Jeans, Sweat
                                        Shirts, Underwear, Bandanas, Headwear, Socks, Boots,
                                        Cycle Riding Suits, Belts and Suspenders;

                                        Embroidered patches;

                                        Posters, paper decals;

                                        (Among other goods and services in Classes 6, 9, 11, 12,
                                        14, 16, 18, 20, 24, 26, and 34.)


       46.     In addition to its longstanding and strong common-law rights in the Willie G.

Skull Logo, H-D owns, among others, the following federal registrations:

        Mark              Reg. No.                        Goods and Services
                          Reg. Date
                         4465604         Clothing, namely, shirts, hats, caps, belts, jackets,
                         01-14-2014      gloves, sweatshirts, lounge pants, wrist bands




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Mark         Reg. No.                     Goods and Services
             Reg. Date
            3525970      Jackets, coats, gloves, shirts, shorts, caps, hats,
            10-28-2008   headwear, knit hats, belts, neckties, pants, sweatshirts,
                         T-shirts, leather clothing, namely, leather jackets,
                         leather gloves, footwear, namely, boots and vest
                         extenders



            3097410      Motorcycle parts and accessories, namely, derby
            05-30-2006   covers, timer covers, air cleaner inserts, namely
                         covers, gas cap medallions, fender skirts, console
                         doors for fuel tanks, valve caps, license plate fasteners,
                         foot board inserts, brake pedal pads, foot pegs, shifter
                         pegs, heel rests, fuel tank panels, handle bar grips


            4465650      Motorcycles and structural parts therefor
            01-14-2014




            4844360      Parts of motorcycles, excluding parts of all motors and
            11-03-2015   engines, namely, derby covers, air cleaner trim, timer
                         covers, battery cover band, fuel caps, brake caliper
                         inserts, fender skirts, console doors, head lamp visors,
                         medallions, foot pegs, gearshift linkages, foot board
                         covers, handlebar clamps, hand grips, fuel gauges,
                         guard rail inserts, axle nut covers, breather end cap,
                         valve stem caps, foot boards, turn signal visors, pivot
                         bolt covers, tank panel, fender tip lens kit, console
                         insert, air cleaner cover, decorative end caps, mirrors
                         and mounting hardware for the aforesaid goods
            3040629      Mugs, beverage glassware
            01-10-2006




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       47.     In addition to its longstanding and strong common-law rights in the Number 1

Logo, H-D owns, among others, the following federal registrations:

        Mark              Reg. No.                        Goods and Services
                          Reg. Date
                        2973501          Bandanas, jackets, shirts, caps, hats, t-shirts, leather
                        07-19-2005       jackets




                        3697875          Shirts, hats, caps
                        10-20-2009




                        2979002          Drinking glasses, mugs, beverage glassware
                        07-26-2005




                        4487292          Motorcycles and structural parts therefore
                        02-25-2014




                        3697874          Motorcycles and structural parts therefor
                        10-20-2009




       48.     In addition to its longstanding and strong common-law rights in the FAT BOY

mark, H-D owns the following federal registrations:


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         Mark              Reg. No.                        Goods and Services
                           Reg. Date
 FAT BOY                 1594104           Motorcycles
                         05-01-1990
 FAT BOY                 3818854           Non-luminous, non-mechanical tin signs, non-
                         07-13-2010        luminous, non-mechanical metal signs


       49.      In addition to its longstanding and strong common-law rights in the SPORTSTER

mark, H-D owns the following federal registrations:

         Mark              Reg. No.                        Goods and Services
                           Reg. Date
 SPORTSTER               0912532           Motorcycles
                         06-08-1971
 SPORTSTER               3044788           Embroidered patches and emblems for clothing
                         01-17-2006

       50.      The federal trademark registrations listed above are prima facie evidence of

H-D’s ownership and the validity of those registered trademarks. Further, many of these

registrations are incontestable, and thus constitute conclusive evidence of H-D’s exclusive right

to use those marks for the products and/or services specified in those registrations pursuant to 15

U.S.C. §§ 1065 and 1115(b).

       51.      H-D also owns the following Wisconsin state trademark registrations for the

HARLEY-DAVIDSON, HARLEY, H-D, HD, and Bar & Shield Logo marks:

             Mark                Reg. Date                   Goods and Services

 HARLEY-DAVIDSON                11-18-2009     Motorcycles, motorcycle parts, jewelry,
                                               clothing, caps/headwear, leather goods,
                                               decals/stickers, patches, belt buckles, and signs.
 HARLEY                         11-18-2009     Motorcycles, motorcycle parts, jewelry,
                                               clothing, caps/headwear, leather goods,
                                               decals/stickers, patches, belt buckles, and signs.
 H-D                            11-18-2009     Motorcycles, motorcycle parts, jewelry,


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              Mark                Reg. Date                     Goods and Services

                                                 clothing, caps/headwear, leather goods,
                                                 decals/stickers, patches, belt buckles, and signs.
 HD                              11-18-2009      Motorcycles, motorcycle parts, jewelry,
                                                 clothing, caps/headwear, leather goods,
                                                 decals/stickers, patches, belt buckles, and signs.
                                 11-18-2009      Motorcycles, motorcycle parts, jewelry,
                                                 clothing, caps/headwear, leather goods,
                                                 decals/stickers, patches, belt buckles, and signs.


                                 11-18-2009      Motorcycles, motorcycle parts, jewelry,
                                                 clothing, caps/headwear, leather goods,
                                                 decals/stickers, patches, belt buckles, and signs.




                             H-D’S COPYRIGHT REGISTRATION

        52.     The Willie G. Skull Logo is an original work of authorship that constitutes

copyrightable subject matter under U.S. law. H-D is the owner of all copyright rights in the

Willie G. Skull Logo, all preexisting works containing the Willie G. Skull Logo, and all

derivative works of the Willie G. Skull Logo. H-D owns U.S. Copyright Reg. No. VA 1-987-

746, which issued on February 3, 2016.

        53.     The copyright registration for the Willie G. Skull Logo listed above is valid and

subsisting. The copyright registration constitutes, in all instances, prima facie evidence of the

validity of the copyright and the facts stated in the certificate.

                              DEFENDANTS’ WRONGFUL ACTS

                                         SunFrog’s Business

        54.     SunFrog is a service provider and fulfillment services platform that markets,

promotes, advertises, and sells apparel, including t-shirts, sweatshirts, and hoodies, and other


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products (e.g., mugs) on its Website. SunFrog’s online services provided on SunFrog’s Website

include an online retail marketplace where consumers may purchase the products advertised on

that site. SunFrog’s Website also provides an online platform where individuals or businesses

may open an account and “create” new products to advertise and sell on SunFrog’s Website, and

where they may advertise and sell products created by others that are already offered on

SunFrog’s Website. When consumers purchase products on SunFrog’s Website, SunFrog

handles the payment transaction, then prints and ships, or arranges to have printed and shipped,

such products to the consumers. SunFrog has admitted in other litigations that it prints the

products sold on SunFrog’s Website. See, e.g., Methodist Le Bonheur Healthcare v. SunFrog

LLC, No. 2:2016-cv-02718 (W.D. Tenn. Sept. 2, 2016), Merchdirect LLC v. Sunfrog LLC et al,

No. 1-10 1:17-cv-00488-RJS (S.D.N.Y. Jan. 23, 2017). Moreover, in a promotional video on

SunFrog’s YouTube Channel, SunFrog describes and illustrates its fulfillment process, including

printing and shipping and “quality control at every stage of [a customer’s] order.” SunFrog

Shirts, SunFrog B2B Multi-Location Apparel, YOUTUBE (Sept. 2, 2016),

youtube.com/watch?v=DtUIVgKtMtQ&t=3s. SunFrog earns the majority of the retail sales

price of the products, and distributes a portion to its sellers.

        55.     SunFrog’s sellers “create” products by selecting “blank” products (e.g., a t-shirt

bearing no images, designs, or text) made available by SunFrog and then adding logos, images,

and/or text (in SunFrog’s terminology, “designs”) to be printed on such products. SunFrog then

advertises and offers products bearing the designs on SunFrog’s Website. For example, an

individual or business may open an account on SunFrog’s Website, select a plain or blank t-shirt

from SunFrog’s list of available products, and add an image of H-D’s HARLEY-DAVIDSON




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trademark in just a few minutes. The resulting product, a HARLEY-DAVIDSON t-shirt, is then

advertised and sold on SunFrog’s Website.

       56.     SunFrog’s sellers are essentially anonymous because they are identified on

SunFrog’s website only by invented account names and/or numerical codes that do not reveal the

sellers’ true names or contact information.

       57.     Sellers may upload new designs from their own computers or devices to

SunFrog’s Website to create new products to sell on that site. Sellers also have the option to

select and sell existing designs that SunFrog makes available and provides to sellers in its online

database titled “All SunFrog Art.” The All SunFrog Art database contains logos and images

uploaded by SunFrog sellers, and is searchable by keyword and categories (e.g., “Automotive”).

In particular, SunFrog’s All SunFrog Art database makes available and provides to sellers

numerous logos and images containing the H-D Marks (the “Infringing Designs”) that can be

immediately applied to numerous blank products of various styles, colors, and sizes, and offered

for sale by sellers with just a few keystrokes. SunFrog’s searchable All SunFrog Art database,

moreover, makes it easy for sellers to locate Infringing Designs containing the H-D Marks as

they are instantly accessible by searching for the H-D Marks of interest (e.g., HARLEY,

HARLEY-DAVIDSON, and HD).

       58.     SunFrog earns the majority percentage (currently 54.5%) of the retail sales price

of products sold on SunFrog’s Website. The remaining proceeds go to its sellers. Sellers receive

40% of the retail sales price for the products they sell, and an extra 5.5% if they also created and

uploaded the designs used on such products. SunFrog refers to the 5.5% as a licensing fee it

pays sellers for use of the designs.




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       59.     SunFrog’s contract with sellers allows it to keep sellers’ commissions for itself

under certain circumstances, including for sales of products that are the subject of infringement

complaints by rights holders.

       60.     SunFrog facilitates and encourages the proliferation of products sold on

SunFrog’s Website in various ways. For example, sellers are not limited to creating and selling

products with their own logos or images. Rather, sellers can also sell products with existing

designs from the All SunFrog Art database, which put sellers in business without having any of

their own designs or products. In addition, sellers receive a full 40% sellers’ commission even 

for products bearing designs that the seller did not create, which is only slightly less than the

payment received by sellers with their own designs.

       61.     In addition to advertising products directly on SunFrog’s Website, SunFrog

facilitates the advertisement and promotion of such products on social media sites (e.g.,

Facebook) by providing sales tracking tools to its sellers and offering tutorials for the marketing

of such products on social media.

       62.     SunFrog prints, produces, and/or manufactures, or arranges to have printed,

produced, and/or manufactured, products sold on SunFrog’s Website to customers who purchase

products on SunFrog’s Website.

       63.     SunFrog ships, or arranges to have shipped, products sold on SunFrog’s Website

to customers who purchase products on SunFrog’s Website.

       64.     SunFrog is thus not a passive participant in the business conducted by sellers on

and through SunFrog’s Website. This is not a situation where SunFrog’s only role is to provide

sellers with access to an online marketplace to sell their products and everything is done by the

sellers. Rather, SunFrog is an active partner of the sellers and directly involved in the sellers’




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business in many ways, all for SunFrog’s financial gain, including: (a) SunFrog gives sellers the

ability to sell products bearing designs of other sellers and encourages such sales by paying

sellers 40% of the gross revenues from such sales, (b) SunFrog handles the payment transactions

for the sales of all products sold on SunFrog’s Website, (c) SunFrog prints or arranges for the

printing of all products sold on SunFrog’s Website, (d) SunFrog ships or arranges for the

shipping of all products sold on SunFrog’s Website, and (e) SunFrog provides to sellers sales

tracking tools and tutorials for social media marketing of the Infringing Products.

               SunFrog’s Repeated Infringement of H-D’s Intellectual Property

         65.   SunFrog has advertised, promoted, and sold hundreds, if not thousands, of

products bearing H-D’s Intellectual Property (as defined above, the “Infringing Products”). In

March and April of 2017 alone, after and at the same time that H-D has been repeatedly

submitting objections to SunFrog’s violations of the H-D Marks, the Infringing Products offered

on SunFrog’s Website have featured more than 100 different Infringing Designs comprised of or

containing the H-D Marks on thousands of products.

         66.   SunFrog has profited handsomely from sales of the Infringing Products by

receiving 54.5% of the retail sales price of each Infringing Product, and possibly more in some

cases.

         67.   The Infringing Products sold on SunFrog’s Website have been designed and/or

offered by numerous sellers that are anonymous as expressly allowed under SunFrog’s platform.

Such sellers include “harley davidson” and “HD,” neither of which are H-D itself, as well as

“LOKI,” “POKA,” “81088,” and “75237,” among many others. The anonymity provided by

SunFrog to its sellers is a direct avenue for sellers to offer numerous Infringing Products with

near impunity. SunFrog thus facilitates the widespread proliferation and offering of such




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Infringing Products which are undoubtedly commercially successful given the high popularity

and commercial success of H-D’s own products bearing the H-D Marks, including clothing,

mugs, and posters. Indeed, as described above, one of the few potential repercussions for sellers

that offer Infringing Products is the withholding of sellers’ commissions by SunFrog for its own

gain and/or purposes. SunFrog is thus further incentivized to allow its anonymous sellers to

offer Infringing Products.

       68.     From at least as early as October 2016 to the present, H-D has submitted more

than 70 complaints to SunFrog that: (a) notified SunFrog of H-D’s rights in the H-D Marks, and

(b) reported and objected to more than 800 Infringing Products that have been advertised,

promoted, offered, and/or sold on SunFrog’s Website in violation of H-D’s rights.

       69.     SunFrog has acknowledged the validity and infringement of H-D’s Intellectual

Property by responding to H-D’s objections with the statement that “The design has been

deactivated and should no longer be found on the SunFrog platform,” and removing the sales

pages for the complained-of Infringing Products (i.e., the pages on SunFrog’s Website on which

the Infringing Products can be purchased). SunFrog typically took 2-3 days and as long as 7

days to deactivate the objected-to Infringing Product. As detailed below, SunFrog’s

infringement report process and “remedy,” however, are wholly inadequate to stop SunFrog’s

continuing and expanding violations of H-D’s Intellectual Property.

       70.     SunFrog’s removal of the sales pages does not stop SunFrog from continuing to

distribute such Infringing Products by fulfilling existing orders for such Infringing Products and

from continuing to profit off of such products. In fact, SunFrog’s contract with its sellers

expressly permit it to fulfill orders for removed products and keep all proceeds from products

that are the subject of infringement complaints.




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       71.     SunFrog continues to use its product URLs and sale-tracking URLs for

“removed” Infringing Products to drive traffic to its Website for SunFrog’s financial gain.

Product URLs are used for sales pages on SunFrog’s Website that display the product for sale.

Sale-tracking URLs are also used for sales pages on SunFrog’s Website, and include a tracking

element such as the seller’s 5-digit ID at the end of the URL. Specifically, SunFrog continues to

use product URLs such as https://www.sunfrog.com/LifeStyle/HARLEY-DAVIDSON-

159675044-Black-Guys.html, which is the URL for a sales page for an Infringing Product that

SunFrog “removed” in October 2016. Despite “removing” the Infringing Product, SunFrog

continues to use that product URL for a page of SunFrog’s Website that displays dozens of

shirts. SunFrog also continues to use sales-tracking URLs such as

https://www.sunfrog.com/LifeStyle/Harley-Davidson-Biker-Brown-Guys.html?47440, which is

a sales-tracking URL for an Infringing Product “removed” in January 2017 and which SunFrog

currently uses for a page of SunFrog’s Website that displays dozens of shirts. SunFrog’s product

and sales-tracking URLs are widely distributed on social media and other websites.

Accordingly, if a consumer encounters and clicks on one of SunFrog’s product or sale-tracking

URLs for a “removed” Infringing Product on a social media page or other website, the consumer

will be linked to SunFrog’s Website, and may receive either a page of SunFrog’s Website

advertising other SunFrog products for sale or a SunFrog message inviting the consumer to “start

over” (i.e., conduct a search on SunFrog’s Website for products). In this way, SunFrog drives

traffic to its Website using its product and sales-tracking URLs for “removed” Infringing

Products, including URLs containing the H-D Marks, which SunFrog should have deactivated or

disabled as a result of H-D’s takedown complaints.




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       72.     SunFrog continues to use its image URLs for the “removed” Infringing Products.

Each Infringing Product has an image URL that corresponds to a page of SunFrog’s Website that

displays a picture of the Infringing Product. Despite “removing” the Infringing Products,

SunFrog continues to use these pages of its Website. Further, in addition to use on SunFrog’s

Website, SunFrog’s image URLs for removed “Infringing Products” are used on other websites

to display the pictures of the Infringing Products and to link to SunFrog’s Website. Specifically,

consumers who click on such images for “removed” Infringing Products displayed on other

websites will be linked to SunFrog’s Website, and may receive either a page of SunFrog’s

Website advertising other SunFrog products for sale or a SunFrog message inviting the consumer

to search for products on SunFrog’s Website. For example, the image URL

https://images.sunfrogshirts.com/2016/07/06/Harley-Dav-Brown-_w91_-back.jpg is used for a

page of SunFrog’s Website that displays an Infringing Product that was “removed” in January

2017, and is used on another website to display the Infringing Product and to link to SunFrog’s

Website.

       73.     SunFrog has continued in some cases to use pictures of “removed” Infringing

Products in search results on SunFrog’s Website to “bait and switch” consumers for SunFrog’s

financial gain by leveraging the fame and drawing power of the H-D Marks. Specifically,

SunFrog’s Website has a search box where consumers can search a term (e.g., “Harley-

Davidson”) and receive a page of products for sale (e.g,, shirts bearing the HARLEY-

DAVIDSON mark on the product). Consumers who click on a product picture in SunFrog’s

search results are usually linked to the sales page where such product can be purchased. In some

cases for “removed” Infringing Products shown in search results, SunFrog does not link to the




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sales page but instead links to another page of SunFrog’s Website displaying other SunFrog

products for sale, thus using the H-D Marks to sell non-H-D products.

       74.     SunFrog’s removal of an Infringing Product does not stop SunFrog from keeping

its profit from the sale of such Product. In fact, SunFrog may earn an even higher percentage for

removed products under its seller contract that allows SunFrog to keep all proceeds from

products that are the subject of infringement complaints.

       75.     SunFrog’s removal of some Infringing Products does not stop SunFrog or its

sellers from advertising and offering new Infringing Products bearing the same H-D Marks or

even the same Infringing Designs that SunFrog previously acknowledged and “removed” in its

responses to H-D’s prior complaints.

       76.     Despite H-D’s numerous and repeated complaints and SunFrog’s repeated

acknowledgement of H-D’s rights, SunFrog continues to this day to advertise, offer, sell, and

profit from numerous Infringing Products bearing the H-D Marks on SunFrog’s Website.

       77.     Specifically, despite H-D’s countless objections: (a) SunFrog continues to

advertise and sell numerous Infringing Products bearing specific H-D Marks cited in H-D’s prior

objections, (b) SunFrog continues to allow the same anonymous sellers that are repeat infringers

of H-D’s Intellectual Property and identified in H-D’s prior objections to offer numerous

additional Infringing Products on SunFrog’s Website, and (c) SunFrog even continues to

advertise and sell numerous Infringing Products bearing designs identical to designs of

Infringing Products that were the subject of H-D’s prior objections. Below are specific examples

of each of these continuing infringing activities.

       78.     SunFrog continues to advertise and sell numerous Infringing Products bearing

specific H-D Marks cited in H-D’s objections. Below are representative examples of Infringing




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Products that SunFrog offered in April and/or May 2017 bearing the identical H-D Marks cited

in H-D’s numerous prior objections.




       79.     SunFrog also continues to allow the same anonymous sellers that are repeat

infringers of H-D’s Intellectual Property and that were identified in H-D’s prior objections to

offer and sell numerous Infringing Products on SunFrog’s Website. For example, the sellers

“BW999” and “Bomman” have been the sellers of hundreds of Infringing Products identified in


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H-D’s objections, and these sellers continue to this day to create and sell numerous Infringing

Products on SunFrog’s Website, including the representative examples shown below:




       80.     SunFrog even continues to advertise and sell many Infringing Products bearing

designs identical to designs of Infringing Products that were the subject of H-D’s prior

objections. For example, on March 31, 2017, H-D objected to numerous Infringing Products,

including the three Infringing Products shown below that SunFrog “removed.” Following these

takedowns, dozens of new Infringing Products bearing these identical designs were posted on

SunFrog’s Website shortly thereafter and are still available as recently as May 15, 2017.




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       81.     Moreover, despite H-D submitting objections to hundreds of Infringing Products

to SunFrog continuously since October 2016, SunFrog has actually expanded its product

offerings bearing H-D’s Intellectual Property (i.e., Infringing Products) to include leggings (in

November 2016), youth t-shirts (in January 2017), and mugs (in February 2017). SunFrog also

expanded its product offerings to posters and canvas prints (in March 2017). For example, after

SunFrog recently expanded its product offerings to mugs, SunFrog now offers numerous mugs

for sale that bear the H-D Marks, including the representative examples shown below:




       82.     Defendants’ continued marketing, advertisement, promotion, and sale of

numerous Infringing Products demonstrate that Defendants willfully intended to trade upon the

goodwill of H-D and H-D’s Intellectual Property and/or recklessly disregarded H-D’s rights.




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       83.     Defendants’ actions described above are and have been intended to mislead

consumers into believing that Defendants and/or their products are authorized by H-D, connected

to H-D, and/or licensed, affiliated with, and/or sponsored by H-D, when in fact they are not.

       84.     H-D has obtained several Infringing Products through test purchases or as a result

of Customs seizures. In each case, products were shipped from SunFrog listing its address of

1782 O’Rourke Blvd., Gaylord, MI 49735.

       85.     Below is an image of an Infringing Product in the form of a t-shirt obtained in a

test purchase from SunFrog. This Infringing Product has a neck label with the SunFrog brand on

the label as shown below.




SunFrog’s use of its own mark on neck labels of infringing shirts bearing the H-D Marks

suggests that there is a co-branding or licensing relationship between SunFrog and H-D when

none exist.




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                            INJURY TO H-D AND THE PUBLIC

       86.     Defendants’ actions described above have damaged and irreparably injured and, if

permitted to continue, will further damage and injure H-D, H-D’s Intellectual Property, H-D’s

reputation and goodwill associated with those marks, H-D’s reputation for high-quality products

and services, and the public interest in consumers being free from confusion.

       87.     Defendants’ actions as described above have caused and are likely to continue to

cause confusion, mistake, and deception as to the source or origin of the Infringing Products and

have falsely suggested and are likely to continue to falsely suggest a sponsorship, connection,

license, affiliation, or association between Defendants and/or its Infringing Products with H-D,

H-D’s Intellectual Property, and/or H-D’s products and services.

       88.     Defendants’ actions described above are likely to dilute the distinctiveness of the

famous HARLEY-DAVIDSON, HARLEY, H-D, HD, and Bar & Shield Logo marks, and are

also likely to tarnish those famous marks, thereby injuring H-D.

       89.     Defendants’ products bear copies of the copyright-protected Willie G. Skull Logo.

Defendants’ actions as described above copied the original expression of H-D’s Willie G. Skull

Logo without H-D’s authorization.

       90.     H-D has no adequate remedy at law.

       91.     Defendants knew or should have known that their activities described above

constituted trademark counterfeiting, trademark infringement, trademark dilution, copyright

infringement, and unfair competition, and thus Defendants acted knowingly and willfully in

reckless disregard of H-D’s Intellectual Property.

                               FIRST CLAIM FOR RELIEF
                       Trademark Counterfeiting Under Section 32(1)
                          of the Lanham Act, 15 U.S.C. § 1114(1)

       92.     H-D repeats and realleges each and every allegation set forth above.


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       93.     H-D owns a number of federal trademark registrations for the H-D Marks for

various goods and services, many including apparel and/or mugs.

       94.     Without H-D’s consent, Defendants intentionally used in commerce the

HARLEY-DAVIDSON, HARLEY, H-D, HD, Bar & Shield Logo, Number 1 Logo, and Willie

G. Skull Logo marks and/or substantially indistinguishable variations or counterfeits thereof, as

defined under 15 U.S.C. § 1116(d)(1)(B)(i), in connection with the sale, offering for sale, and/or

distribution of the Infringing Products.

       95.     Without H-D’s consent, Defendants reproduced, counterfeited, copied, and/or

colorably imitated the HARLEY-DAVIDSON, HARLEY, H-D, HD, Bar & Shield Logo,

Number 1 Logo, and Willie G. Skull Logo marks and applied such reproductions, counterfeits,

copies, and/or colorable imitations to labels, signs, prints, packages, wrappers, receptacles or

advertisements, as defined under 15 U.S.C. § 1116(d)(1)(B)(ii), intended to be used in commerce

upon or in connection with the sale, offering for sale, distribution, or advertising of the Infringing

Products in a manner likely to cause confusion, or to cause mistake, or to deceive.

       96.     Defendants’ actions described above are likely to cause confusion, mistake, or to

deceive as to the origin, sponsorship, or approval of the Infringing Products, Defendants’

services, and commercial activities, and thus constitute counterfeiting of H-D’s federally

registered HARLEY-DAVIDSON, HARLEY, H-D, HD, Bar & Shield Logo, Number 1 Logo,

and Willie G. Skull Logo marks identified above in violation of Section 32 of the Lanham Act,

15 U.S.C. § 1114.

       97.     Defendants are directly, vicariously, and/or contributorily liable for the actions

described above.




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       98.     The actions of Defendants described above have at all times relevant to this action

been willful and/or knowing.

       99.     As a direct and proximate result of the actions of Defendants as alleged above,

H-D has been and will continue to be damaged and irreparably harmed.

       100.    H-D has no adequate remedy at law.

                              SECOND CLAIM FOR RELIEF
                        Trademark Infringement Under Section 32(1)
                           of the Lanham Act, 15 U.S.C. § 1114(1)

       101.    H-D repeats and realleges each and every allegation set forth above.

       102.    Defendants used and continue to use in commerce the H-D Marks and

reproductions, copies, and colorable imitations thereof in connection with the offering, sale,

distribution, and advertising of goods and services, which are likely to cause confusion, mistake,

or deception as to the origin, sponsorship, or approval of the Infringing Products, Defendants’

services, and Defendants’ commercial activities, and thus constitute infringement of the H-D

Marks referred to above in violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       103.    Defendants are directly, vicariously, and/or contributorily liable for the actions

described above.

       104.    The actions of Defendants described above have at all times relevant to this action

been willful and/or knowing.

       105.    As a direct and proximate result of the actions of Defendants as alleged above,

H-D has been and will continue to be damaged and irreparably harmed.

       106.    H-D has no adequate remedy at law.




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                                 THIRD CLAIM FOR RELIEF
                         Trademark Infringement, False Designation
                               of Origin, and Unfair Competition
                Under Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A)

       107.      H-D repeats and realleges each and every allegation set forth above.

       108.      Defendants’ actions described above are likely to cause confusion, mistake, or

deception as to the origin, sponsorship, or approval of the Infringing Products and Defendants’

commercial activities, and thus constitute trademark infringement, false designation of origin,

and unfair competition with respect to the H-D Marks in violation of Section 43(a)(1)(A) of the

Lanham Act, 15 U.S.C. § 1125(a)(1)(A).

       109.      Defendants are directly, vicariously, and/or contributorily liable for the actions

described above.

       110.      The actions of Defendants described above have at all times relevant to this action

been willful.

       111.      As a direct and proximate result of the actions of Defendants as alleged above,

H-D has been and will continue to be damaged and irreparably harmed.

       112.      H-D has no adequate remedy at law.

                                 FOURTH CLAIM FOR RELIEF
                                Trademark Dilution Under Section
                           43(c) of the Lanham Act, 15 U.S.C. § 1125(c)

       113.      H-D repeats and realleges each and every allegation set forth above.

       114.      H-D has engaged in extensive nationwide advertising, promotion, and use of the

HARLEY-DAVIDSON, HARLEY, H-D, HD, and Bar & Shield Logo marks for many years.

Further, H-D has had massive sales of goods and services bearing such marks for decades.

       115.      The HARLEY-DAVIDSON, HARLEY, H-D, HD, and Bar & Shield Logo marks

have for many years received extensive unsolicited media attention nationwide. Such extensive



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and frequent media attention and commercial success has had a substantial impact on the public

and has long created an association in the minds of consumers between H-D and the HARLEY-

DAVIDSON, HARLEY, H-D, HD, and Bar & Shield Logo marks, such that these marks are

famous and were famous nationwide before Defendants commenced their unauthorized use of

the those marks.

       116.     Defendants’ actions described above, all occurring after the HARLEY-

DAVIDSON, HARLEY, H-D, HD, and Bar & Shield Logo marks became famous, are likely to

cause dilution by blurring and dilution by tarnishment of the distinctive quality of those

trademarks in violation of Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c).

       117.     Defendants are directly, vicariously, and/or contributorily liable for the actions

described above.

       118.     The actions of Defendants described above have at all times relevant to this action

been willful.

       119.     As a direct and proximate result of the actions of Defendants as alleged above,

H-D has been and will continue to be damaged and irreparably harmed.

       120.     H-D has no adequate remedy at law.

                                  FIFTH CLAIM FOR RELIEF
                                     Copyright Infringement
                                     17 U.S.C. § 101, et seq.

       121.     H-D repeats and realleges each and every allegation set forth above.

       122.     H-D’s Willie G. Skull Logo is a wholly original work of authorship and

constitutes copyrightable subject matter under the Copyright Act of 1976, 17 U.S.C. § 101 et seq.

       123.     H-D is the sole owner of all right, title, and interest in and to the copyright in the

Willie G. Skull Logo.




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        124.    H-D has complied in all respects with the Copyright Act of 1976 (17 U.S.C. § 101

et seq.) and has received from the Registrar of Copyrights Certificate of Copyright, Registration

No. VA 1-987-746 for the Willie G Skull Design. The Certificate of Registration constitutes

prima facie evidence of the validity of H-D’s copyright rights and the facts stated in the

Certificate.

        125.    H-D has never licensed, or in any other way authorized, Defendants to reproduce,

cause to reproduce, prepare derivative works from, distribute, or display any portion of the

Willie G. Skull Logo, which are the exclusive rights of H-D as the copyright owner.

        126.    By the actions described above, Defendants have infringed and will continue to

infringe H-D’s copyright rights in the Willie G. Skull Logo in violation of the Copyright Act, 17

U.S.C. § 101, et seq.

        127.    The actions of Defendants described above have at all times relevant to this action

been willful.

        128.    As a direct and proximate result of the actions of Defendants as alleged above,

H-D has been and will continue to be damaged and irreparably harmed.

        129.    H-D has no adequate remedy at law.

                                 SIXTH CLAIM FOR RELIEF
                                   Trademark Infringement
                                 Under Wis. Stat. § 132 et. seq.
        130.    H-D repeats and realleges each and every allegation set forth above.

        131.    Defendants’ actions and/or the actions of others acting on behalf of or with

Defendants’ authorization or knowledge making use of the HARLEY-DAVIDSON, HARLEY,

H-D, HD, and the Bar & Shield Logo marks with intent to deceive as to the affiliation,

connection, or association of Defendants with H-D in the conduct of their business without the

authorization of H-D as set forth above constitutes statutory trademark infringement of the


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Wisconsin registered HARLEY-DAVIDSON, HARLEY, H-D, HD, and the Bar & Shield Logo

marks identified above in violation of Chapter 132 of the Wisconsin Statutes.

       132.     The actions of Defendants and/or the actions of others acting on behalf of or with

Defendants’ authorization or knowledge described above have at all times relevant to this action

been willful.

       133.     Defendants are directly, vicariously, and/or contributorily liable for the actions

described above.

       134.     The actions of Defendants described above have at all times relevant to this action

been willful.

       135.     As a direct and proximate result of the actions of Defendants as alleged above,

H-D has been and will continue to be damaged and irreparably harmed.

       136.     H-D has no adequate remedy at law.

                            SEVENTH CLAIM FOR RELIEF
                        Common Law Trademark Infringement, Unfair
                            Competition, and Misappropriation

       137.     H-D repeats and realleges each and every allegation set forth above.

       138.     Defendants’ actions described above with respect to the H-D Marks constitute

common law trademark infringement, unfair competition, and misappropriation of H-D’s

goodwill under the common law.

       139.     Defendants are directly, vicariously, and/or contributorily liable for the actions

described above.

       140.     The actions of Defendants described above have at all times relevant to this action

been willful.

       141.     As a direct and proximate result of the actions of Defendants as alleged above,




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H-D has been and will continue to be damaged and irreparably harmed.

       142.    H-D has no adequate remedy at law.



                                     PRAYER FOR RELIEF

       WHEREFORE, H-D prays that this Court enter judgment in its favor on each and every

claim for relief set forth above and award it relief including, but not limited to, the following:

       A.      An injunction preliminarily and permanently enjoining Defendants and their

employees, agents, partners, officers, directors, owners, shareholders, principals, subsidiaries,

related companies, affiliates, distributors, dealers, retailers, wholesalers, manufacturers, vendors

including online vendors such as ISPs and offline vendors such as shipping companies,

successors, assigns, and all persons in active concert or participation with any of them:

                       1.      From using, displaying, and/or registering the H-D Marks in any

               form, including but not limited to in connection with any other wording or

               designs, and from using any other marks, logos, designs, designations, or

               indicators that are confusingly similar to any of the H-D Marks, or likely to dilute

               the distinctiveness of or tarnish any of the HARLEY-DAVIDSON, HARLEY,

               H-D, HD, and Bar & Shield Logo marks, in any unauthorized manner including,

               but not limited to, use on or in connection with any products in any online or

               offline context, including without limitation the Infringing Products, SunFrog’s

               Website and any other online venue for its platform, any other websites or online

               platforms including social media and apps, promotional and advertising materials,

               store names, signage, and product packaging and labeling; and as or as part of any

               trademarks, business names, seller names on SunFrog’s Website, product names

               on SunFrog’s Website, domain names, e-mail addresses, URLs, metatags, screen


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               names, social media names, keywords such as advertising keywords, or any other

               identifiers;

                       2.      From using H-D’s copyrighted works or substantially similar

               works in any form or medium;

                       3.      From representing by any means whatsoever, directly or indirectly,

               that Defendants or any products or services offered by Defendants, including

               without limitation the Infringing Products, or any activities undertaken by

               Defendants, emanate from H-D, or are authorized, licensed, or otherwise affiliated

               with or sponsored or endorsed by H-D;

                       4.      From assisting, aiding, or abetting any other person or business

               entity in engaging in or performing any of the activities referred to in

               subparagraphs A.1-3 above.

       B.      An Order directing Defendants to destroy all products and items in their

possession or under their control that bear H-D’s Intellectual Property, including without

limitation any Infringing Products and all items bearing Infringing Designs, and to confirm such

destruction in writing to H-D, and to provide to H-D the identity and complete contact

information and payee information for all persons and entities that made, produced, or advertised

or sold the Infringing Products and created the Infringing Designs including, but not limited to,

sellers, manufacturers, printers, shipping vendors, wholesalers, distributors, retailers and all

others that assisted or enabled Defendants to make, advertise, promote, sell, distribute, and

transport the Infringing Products.

       C.      An Order requiring Defendants to pay H-D the cost for corrective advertising

and/or to engage in corrective advertising in a manner directed by the Court.




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       D.       An Order directing Defendants to file with this Court and serve on H-D’s

attorneys, thirty (30) days after the date of entry of any injunction, a report in writing and under

oath setting forth in detail the manner and form in which they have complied with the injunction

and other orders issued by the Court.

       E.       An Order requiring Defendants to pay statutory damages in accordance with 15

U.S.C. § 1117(c) of $2,000,000 per mark per type of product or service sold, offered for sale, or

distributed by Defendants bearing marks deemed to be counterfeits of the HARLEY-

DAVIDSON, HARLEY, H-D, HD, Bar & Shield Logo, Number 1 Logo, and/or Willie G. Skull

Logo marks;

       F.       An Order requiring Defendants to account for and pay to H-D any and all profits

arising from the foregoing acts of counterfeiting, infringement, dilution, false designation of

origin, and unfair competition, and an increasing of such profits for payment to H-D in

accordance with 15 U.S.C. § 1117, and other applicable statutes and laws;

       G.       An Order requiring Defendants to pay H-D compensatory damages in an amount

as yet undetermined caused by the foregoing acts of counterfeiting, infringement, dilution, false

designation of origin, unfair competition, and trebling such compensatory damages for payment

to H-D in accordance with 15 U.S.C. § 1117, and other applicable statutes and laws;

       H.       An Order requiring Defendants to pay statutory damages in accordance with 17

U.S.C. § 504 in an amount of $30,000 per work infringed, and an amount of $150,000 per work

infringed if the Court deems that the copyright infringement was committed willfully;

       I.       An Order requiring Defendants to pay H-D punitive damages in an amount as yet

undetermined caused by the foregoing acts of Defendant;




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           J.       An Order requiring Defendants to pay H-D’s costs and attorney’s fees in this

action pursuant to 15 U.S.C. § 1117, 17 U.S.C. § 505, and other applicable statutes and laws; and

           K.       Other relief as the Court may deem appropriate.

                                            JURY DEMAND

           Pursuant to Fed. R. Civ. P. 38, H-D respectfully demands a trial by jury for all claims so

triable.

                                                     Respectfully submitted,

Dated this 19th day of May, 2017                     MICHAEL BEST & FRIEDRICH LLP


                                               By:      s/Katherine W. Schill
                                                     Katherine W. Schill, SBN 1025887
                                                     100 East Wisconsin Avenue
                                                     Suite 3300
                                                     Milwaukee, WI 53202-4108
                                                     kwschill@michaelbest.com
                                                     Phone: (414) 223-2527
                                                     Fax: (414) 277-0656

                                                     KELLY IP, LLP
                                                     David M. Kelly
                                                     Stephanie H. Bald
                                                     Sabrina Y. Shyn
                                                     1919 M Street NW, Suite 610
                                                     Washington, D.C. 20036
                                                     david.kelly@kelly-ip.com
                                                     stephanie.bald@kelly-ip.com
                                                     sabrina.shyn@kelly-ip.com
                                                     Phone: (202) 808-3570
                                                     Fax: (202) 354-5232

                                                     Attorneys for Plaintiffs
                                                     H-D U.S.A., LLC and
                                                     Harley-Davidson Motor Company Group, LLC




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